                                                       July 27, 2018
                                                       10:00 a.m.
                                                       215
                                                       1300 Clay Street, Oakland, CA 94612




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  EXHIBIT “2”




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  EXHIBIT “3”




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  EXHIBIT “4”




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                                              POST-PETITION PAYMENT HISTORY

Case Name:        DEVORE
Case Number:      16-42900
Date Filed:       10/18/2016


Date              Description                                 Amount Paid              Amound Due         Suspense Balance
       10/20/16   Post-Petition Payment Due                                                     $1,785.85
       11/20/16   Post-Petition Payment Due                                                     $1,806.19
       12/20/16   Post-Petition Payment Due                                                     $1,785.85
        1/20/17   Post-Petition Payment Due                                                     $1,809.13
        2/20/17   Post-Petition Payment Due                                                     $1,824.79
        3/20/17   Post-Petition Payment Due                                                     $1,761.97
        4/20/17   Post-Petition Payment Due                                                     $1,827.44
        5/20/17   Post-Petition Payment Due                                                     $1,819.75
        6/20/17   Post-Petition Payment Due                                                     $1,841.22
        7/20/17   Post-Petition Payment Due                                                     $1,822.45
        8/20/17   Post-Petition Payment Due                                                     $1,857.96
        9/20/17   Post-Petition Payment Due                                                     $1,857.96
       10/20/17   Post-Petition Payment Due                                                     $1,725.90
       11/20/17   Post-Petition Payment Due                                                     $1,857.96
       12/20/17   Post-Petition Payment Due                                                     $1,835.95
        1/20/18   Post-Petition Payment Due                                                     $1,860.66
        2/20/18   Post-Petition Payment Due                                                     $1,874.70
        3/20/18   Post-Petition Payment Due                                                     $1,807.05
        4/20/18   Post-Petition Payment Due                                                     $1,761.95
        5/20/18   Post-Petition Payment Due                                                     $1,868.05


                                                              Total Received           Total Due
                                                                               $0.00               $36,392.78

                                                              Total Arrears                        $36,392.78




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